                     FILED
            2025 Jan-30 AM 07:29
            U.S. DISTRICT COURT
                N.D. OF ALABAMA



EXHIBIT A
                            SB129 ENROLLED



1   SB129

2   48A1R3R-2

3   By Senators Barfoot, Roberts, Elliott, Waggoner, Gudger,

4   Shelnutt, Williams, Price, Chesteen, Orr, Jones, Butler,

5   Allen, Givhan, Weaver, Livingston, Melson, Sessions,

6   Albritton, Bell, Kelley, Carnley, Chambliss, Kitchens, Stutts

7

8   RFD: County and Municipal Government

9   First Read: 20-Feb-24




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 4
 5         Relating to diversity, equity, and inclusion; to

 6   prohibit certain public entities from maintaining diversity,
 7   equity, and inclusion offices and from sponsoring diversity,

 8   equity, and inclusion programs; to provide prohibitions on the
 9   promotion, endorsement, and affirmation of certain divisive

10   concepts in certain public settings; with exceptions to

11   provide that certain circumstances are not prohibited; to

12   require public institutions of higher education to designate

13   restrooms on the basis of biological sex; and to authorize

14   certain penalties for violation.

15   BE IT ENACTED BY THE LEGISLATURE OF ALABAMA:
16         Section 1. For the purposes of this act, the following

17   terms have the following meanings:
18         (1) CONTRACTOR. Any individual or entity that provides

19   services to a state agency, public institution of higher
20   education, or local board of education. This term does not

21   include an individual or entity that provides construction
22   services.

23         (2) DIVISIVE CONCEPTS. Any of the following concepts:
24         a. That any race, color, religion, sex, ethnicity, or

25   national origin is inherently superior or inferior.

26         b. That individuals should be discriminated against or

27   adversely treated because of their race, color, religion, sex,

28   ethnicity, or national origin.

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29         c. That the moral character of an individual is
30   determined by his or her race, color, religion, sex,
31   ethnicity, or national origin.
32         d. That, by virtue of an individual's race, color,
33   religion, sex, ethnicity, or national origin, the individual
34   is inherently racist, sexist, or oppressive, whether
35   consciously or subconsciously.
36         e. That individuals, by virtue of race, color,
37   religion, sex, ethnicity, or national origin, are inherently
38   responsible for actions committed in the past by other members
39   of the same race, color, religion, sex, ethnicity, or national
40   origin.
41         f. That fault, blame, or bias should be assigned to
42   members of a race, color, religion, sex, ethnicity, or
43   national origin, on the basis of race, color, religion, sex,
44   ethnicity, or national origin.
45         g. That any individual should accept, acknowledge,
46   affirm, or assent to a sense of guilt, complicity, or a need
47   to apologize on the basis of his or her race, color, religion,
48   sex, ethnicity, or national origin.
49         h. That meritocracy or traits such as a hard work ethic
50   are racist or sexist.
51         (3) DIVERSITY, EQUITY, AND INCLUSION PROGRAM. Any
52   program, class, training, seminar, or other event where
53   attendance is based on an individual's race, sex, gender
54   identity, ethnicity, national origin, or sexual orientation,
55   or that otherwise violates this act. This term does not
56   include programs, classes, trainings, seminars, or other

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57   events that are necessary to comply with applicable state law,
58   federal law, or court order.
59         (4) PUBLIC INSTITUTION OF HIGHER EDUCATION. As defined
60   under Section 16-5-1, Code of Alabama 1975, which includes all
61   universities governed by constitutionally created boards of
62   trustees.
63         (5) STUDENT. Any individual enrolled in a public K-12
64   school or public institution of higher education.
65         Section 2. A state agency, local board of education, or
66   public institution of higher education may not do any of the
67   following:
68         (1) Sponsor any diversity, equity, and inclusion
69   program or maintain any office, physical location, or
70   department that promotes diversity, equity, and inclusion
71   programs, as defined in subdivision (3) of Section 1.
72         (2) Direct or compel a student, employee, or contractor
73   to personally affirm, adopt, or adhere to a divisive concept.
74         (3) Require its students, employees, or contractors to
75   attend or participate in any diversity, equity, and inclusion
76   program or any training, orientation, or course work that
77   advocates for or requires assent to a divisive concept.
78         (4) Require a student, employee, or contractor to share
79   his or her personal point of view on any divisive concept
80   outside of an academic setting, as provided in Section 4(3)b.
81         (5) Require its students, employees, or contractors to
82   participate, as part of any required curriculum or mandatory
83   professional training, in an activity that involves lobbying
84   at the state or local level for legislation related to a

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 85   divisive concept.
 86         (6) Penalize or discriminate against a student,
 87   employee, or contractor on the basis of his or her refusal to
 88   support, believe, endorse, embrace, confess, or otherwise
 89   assent to a divisive concept or diversity statement.
 90         (7) Condition enrollment or attendance in a class,
 91   training, or orientation solely on the basis of race or color.
 92         (8) Authorize or expend funding, or apply for or accept
 93   a grant, federal funding, or private funding, for the purpose
 94   of compelling assent to any divisive concept or any other
 95   purpose prohibited in this act, provided that such funding may
 96   be provided to student, faculty, or staff organizations or
 97   associations.
 98         Section 3. All state agencies and political
 99   subdivisions, including local boards of education and public
100   institutions of higher education, may discipline or terminate
101   the employment of any employee or contractor who knowingly
102   violates this act, provided that:
103         (1) Any disciplinary action or termination of an
104   employee of a public institution of higher education shall
105   remain subject to relevant policies established by the
106   institution.
107         (2) Termination of an employee or contractor of a local
108   board of education remains subject to the appeal of the
109   termination to the local board of education or State Board of
110   Education if applicable, or, if applicable, the Teacher
111   Accountability Act, Chapter 24B of Title 16, Code of Alabama
112   1975, and the Students First Act, Chapter 24C of Title 16,

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113   Code of Alabama 1975.
114         (3) No state agency or political subdivision may
115   terminate a contract or contractor under this section unless a
116   contractor in this state knowingly violated this act in the
117   course of his or her contractual obligation.
118         Section 4. Nothing in this act:
119         (1) Prevents student, staff, or faculty organizations
120   or associations from hosting diversity, equity, and inclusion
121   programs or discussions that may involve divisive concepts,
122   provided that no state funds are used to sponsor these
123   programs. If a student, staff, or faculty organization or
124   association hosts an event pursuant to this subdivision, it
125   shall identify the sponsor of the event at the event and in
126   any advertisements relating to the event.
127         (2) Prevents an employee or a contractor of a state
128   agency, local board of education, or public institution of
129   higher education who provides, as part of his or her job
130   duties, orientation, course work, or training from responding
131   to questions that are raised by participants in the
132   orientation, course work, or training and that pertain to
133   divisive concepts or diversity, equity, and inclusion.
134         (3)a. Prohibits a public institution of higher
135   education from providing any instruction or taking any action
136   in furtherance of satisfying any accreditation standard or
137   requirement.
138         b. Prohibits a public institution of higher education
139   from authorizing the teaching or discussion of any divisive
140   concept in an objective manner and without endorsement as part

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141   of a larger course of academic instruction, provided the
142   institution and its employees do not compel assent to any
143   divisive concept and otherwise comply with the provisions of
144   this act.
145         c. Prohibits the required collection or reporting of
146   demographic data by public institutions of higher education.
147         (4) Prohibits the teaching of topics or historical
148   events in a historically accurate context.
149         (5) Prohibits an institution of higher education from
150   performing research, collecting data, engaging in recruiting
151   and outreach programs, offering academic support services,
152   engaging in clinical trials, or providing medical, mental, or
153   any health care or clinical services targeted to support
154   individuals of any specific demographic.
155         (6) Prevents state agencies from promoting racial,
156   cultural, or ethnic diversity or inclusiveness, provided these
157   efforts are consistent with the requirements of this act.
158         (7) Prohibits a public institution of higher education
159   from providing space or ancillary services to any student or
160   employee on a non-discriminatory basis, including, but not
161   limited to, support and guidance to ensure compliance with
162   applicable university policies and laws, assistance with
163   security needs, and registration of events.
164         (8) Prohibits housing, athletic programming, or social
165   organizations that are segregated by sex. Each public
166   institution of higher education shall ensure that every
167   multiple occupancy restroom be designated for use by
168   individuals based on their biological sex, as defined by

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169   Section 16-1-54, Code of Alabama 1975.
170         (9) May be construed to inhibit or violate the First
171   Amendment rights of any student or employee, or to undermine
172   the duty of a public institution of higher education to
173   protect, to the greatest degree, academic freedom,
174   intellectual diversity, and free expression.
175         (10) Shall be deemed to affect or revise any provision
176   in state law requiring that membership of a state board,
177   commission, or authority be inclusive and reflect the racial,
178   gender, geographic, urban, rural, and economic diversity of
179   the state, nor impact any public official appointed to a state
180   board, commission, or authority as of October 1, 2024.
181         (11) May be construed to affect or limit the activities
182   of the Alabama Office of Minority Affairs.
183         Section 5. It is the intent of the Legislature that all
184   constitutionally created boards of trustees comply with the
185   requirements of this act.
186         Section 6. The provisions of this act are severable. If
187   any part of this act is declared invalid or unconstitutional,
188   the declaration shall not affect the part which remains.
189         Section 7. This act shall become effective on October
190   1, 2024.




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197          ________________________________________________
198            President and Presiding Officer of the Senate
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202          ________________________________________________
203               Speaker of the House of Representatives
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206   SB129
207   Senate 22-Feb-24
208   I hereby certify that the within Act originated in and passed
209   the Senate, as amended.
210
211                                    Patrick Harris,
212                                    Secretary.
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217   House of Representatives
218   Amended and passed: 07-Mar-24
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223   Senate concurred in House amendment 19-Mar-24
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228   By: Senator Barfoot




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